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               Case 2:17-cv-01462-JHS Document 124 Filed 07/11/18 Page 1 of 2

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      I Orlando Antonio am rnformrng the courts that I am reserving all my nghts under UCC 1-308 without
      pre1ud1ce reserve all my reservation of All My Rights under the Uniform Commercial Code of the United
      States under this code




                                                                                                 FILED
                                                                                                JUL 11 2018
                                                                                           B l<ATE BARKMAN, Clerk
                                                                                            Y---Dep. Clerk

             wealth of Pennsylvania • Notary Seal
         JUDITH P. LAWRENCE, Notary Public
                 Phlladetphla Cot1tty
        My Commission Expires Aprll 17, 2020
            Commission Humber 1093078




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                                          INDIVIDUAL ACKNOWLEDGMENT

State of Pennsylvania                                    County of Philadelphia

                        _ _ _ _ _~
Onth1s 11 th dayof_J_u_ly                          2018     before me
Jud•th P Lawrence                                  the undersigned Notary Public, personally appeared
Orlando Antonio Acosta                            (Name(s) of Signer(s)


                                                D Personally known to me - OR -

                                                ~ proved to me on the basis of satisfactory evidence to be
                                               the person(s) whose name(s) is/are subscribed to the within
                                               instrument, and acknowledged to me that he/she/they
                                               executed the same for the purposes therein stated.




Commo~alth     of Pennsylvania - Notary Seal
    JUDITH P. LAWRENCE, Notary Public
          Philadelphia County
   My Commission Expires Aprtl 17, 2020          Any other Required Information (Printed Name
       Commfssioo Number 1093078                 Of Notary, Expiration Date, etc.)




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